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March 20, 2025

VIA CM/ECF
Lyle W. Cayce
Clerk of Court
United States Court of Appeals for the Fifth Circuit
Office of the Clerk
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, Louisiana 70130

Re:      Space Exploration v. NLRB, No. 24-50627
         (Consolidated with Cause Nos. 24-40533 and 24-10855)
Dear Mr. Cayce:

On behalf of Appellee Space Exploration Technologies Corp. (“SpaceX”), I
write to inform the Court that I will depart Morgan, Lewis & Bockius LLP. I
respectfully request the Court to permit my withdrawal from this case. Harry
I. Johnson, III and Micheal E. Kenneally will continue to represent SpaceX.
My withdrawal will therefore have no effect on SpaceX’s representation and
will not prejudice any party or cause any delay.

Respectfully submitted,

s/ Catherine Eschbach
Catherine Eschbach

c: All Counsel of Record




                                                 Morgan, Lewis & Bockius LLP

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                          CERTIFICATE OF SERVICE

      I certify that on March 20, 2025, I electronically filed this letter with the Clerk

of this Court by using the appellate CM/ECF system. The participants in the case

are registered CM/ECF users and service will be accomplished by the appellate

CM/ECF system.


Dated: March 20, 2025                       s/ Catherine Eschbach
                                            Catherine Eschbach
